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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Since January 6, 2021, the FBI has been investigating and identifying those individuals
who illegally entered and committed offenses within the United States Capitol and its grounds.
Investigators have determined that HOWARD RAYMOND FREELOVE, a resident of the State
of California, was one such individual. The evidence the FBI has obtained of FREELOVE’s
identity is set forth below.

        FBI investigators have reviewed photo and video evidence, both from open source and
publicly available media as well as closed circuit (CCTV) surveillance video from the United
States Capitol to track FREELOVE’S movements on January 6, 2021. According to open source
videos posted on social media sites including Facebook and Parler, on January 6, 2021,
FREELOVE attended a rally in Washington D.C. near the Washington Monument shortly before
walking to the Capitol grounds. Photos and videos posted on social media, as well as photos and
videos from news media coverage of the Capitol on January 6 show that upon arrival at the Capitol
grounds FREELOVE gathered with other rioters on the East side of the building, where he stood
outside near the Rotunda Doors.

       Photos and videos of FREELOVE show he was wearing a blue shirt under a navy blue
windbreaker style jacket with a white stripe across the shoulders, dark pants, and tan shoes.
FREELOVE had a white beard, large dark tinted glasses, and a red baseball hat with white lettering
which read, in part, “TRUMP.”
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or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that FREELOVE violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                                                         ______



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 30th day of October 2023.
                                                      G. Michael Digitally signed by
                                                      Harvey            G. Michael Harvey
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
